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 1   CENTER FOR DISABILITY ACCESS
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 7
 8                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA
 9
10   SCOTT JOHNSON                              ) Case No.: 3:21-cv-7523-TSH
                                                )
              Plaintiff,                        )
11
                                                ) NOTICE OF SETTLEMENT AND
       v.                                       ) REQUEST TO VACATE ALL
12
     25-29 37TH AVE LLC, a California           ) CURRENTLY SET DATES
13   Limited Liability Company;                 )
     T&K 1306 LLC, a California Limited         )
14   Liability Company                          )
                                                )
15           Defendants.                        )
                                                )
16                                              )
            The plaintiff hereby notifies the court that a provisional settlement has been
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     reached in the above-captioned case. The Parties would like to avoid any additional
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     expense while they focus efforts on finalizing the terms of the settlement and reducing it
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     to a writing.
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            The plaintiff, therefore, applies to this Honorable Court to vacate all currently set
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     dates with the expectation that the settlement will be consummated within the coming
22
     sixty (60) days, allowing for a Joint Stipulation for Dismissal with prejudice as to all
23
     parties to be filed.
24
                                      CENTER FOR DISABILITY ACCESS
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26
     Dated: December 6 , 2021         By: /s/ Amanda Seabock
27                                          Amanda Seabock
28                                          Attorney for Plaintiff


     Notice of Settlement             -1-               3:21-cv-7523-TSH
